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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA
                                    CENTRAL DIVISION


 JOHN DOE,
                                                      No. 4:17-cv-079-RGE-SBJ
                 Plaintiff,

 vs.
                                                     PLAINTIFF’S BRIEF IN SUPPORT OF
 GRINNELL COLLEGE, SARAH                             HIS MOTION IN LIMINE
 MOSCHENROSS, ANGELA VOOS, and
 BAILEY ASBERRY,                                     ORAL ARGUMENT REQUESTED

                 Defendants.


        Pursuant to Federal Rule of Evidence (“FRE”) 104, and the Court’s Order Regarding Final

Pre-Trial Conference Requirements (ECF No. 51), Plaintiff John Doe (“Plaintiff”), moves for an

order in advance of trial regarding the admissibility of certain evidence, exhibits, testimony and/or

argument as follows:

        1.       Excluding evidence and argument, and precluding examination on issues

concerning Plaintiff’s sexual history, sexuality and sexual orientation. Grinnell’s counsel

questioned Plaintiff about these issues at his deposition and Plaintiff anticipates that Grinnell will

attempt to rely on, and elicit such evidence and testimony at trial, which is not relevant to whether

Grinnell discriminated against Plaintiff on the basis of his sex, or violated its policies, when it

decided to investigate, investigated and adjudicated the sexual misconduct allegations made by

Complainants #1 and #2. FRE 401, 402. Assuming arguendo that such evidence and testimony

could meet the relevance threshold, it should be excluded on the ground that its probative value

does not outweigh the danger that Plaintiff would be unfairly prejudiced by its presentation to the

jury. FRE 403.
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        2.      Excluding evidence and argument, and precluding examination concerning

childhood sexual abuse. Grinnell’s counsel questioned Plaintiff about this issue at his deposition

and Plaintiff anticipates that Grinnell will attempt to rely on, and elicit such evidence and testimony

at trial, which is not relevant to whether Grinnell discriminated against Plaintiff on the basis of his

sex, or violated its policies, when it decided to investigate, investigated and adjudicated the sexual

misconduct allegations made by Complainants #1 and #2. FRE 401, 402. Assuming arguendo that

such evidence and testimony could meet the relevance threshold, it should be excluded on the

ground that its probative value does not outweigh the danger that Plaintiff would be unfairly

prejudiced by its presentation to the jury. FRE 403.

        3.      Excluding evidence and argument and precluding examination concerning

Mikayla Findlay. Grinnell’s counsel questioned Plaintiff about Ms. Findlay at his deposition and

Plaintiff anticipates that Grinnell will attempt to rely on, and elicit evidence and testimony

concerning this individual at trial, which is not relevant to whether Grinnell discriminated against

Plaintiff on the basis of his sex, or violated its policies, when it decided to investigate, investigated

and adjudicated the sexual misconduct allegations made by Complainants #1 and #2. FRE 401,

402. Ms. Findlay, Plaintiff’s ex-girlfriend, did not participate in the Title IX proceedings at issue

in this action in any capacity. Assuming arguendo that such evidence and testimony could meet

the relevance threshold, it should be excluded on the ground that its probative value does not

outweigh the danger that Plaintiff would be unfairly prejudiced by its presentation to the jury. FRE

403. Grinnell should also be precluded from attempting to use this evidence as character evidence.

FRE 404(a)(1), (b)(1).

        4.      Excluding evidence and argument, and precluding examination concerning drug

and alcohol use. Grinnell’s counsel questioned Plaintiff about these issues at deposition and



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Plaintiff anticipates that Grinnell will attempt to rely on, and elicit such evidence and testimony at

trial, which is not relevant to whether Grinnell discriminated against Plaintiff on the basis of his

sex, or violated its policies, when it decided to investigate, investigated and adjudicated the sexual

misconduct allegations made by Complainants #1 and #2. FRE 401, 402. Assuming arguendo that

such evidence and testimony could meet the relevance threshold, it should be excluded on the

ground that its probative value does not outweigh the danger that Plaintiff would be unfairly

prejudiced by its presentation to the jury. FRE 403.

       5.      Plaintiff is filing a brief and declaration, full copies of which will be filed under

seal, in support of this motion.

       6.      Plaintiff respectfully requests oral argument on this motion.

       Wherefore, Plaintiff respectfully requests that the Court rule on this motion prior to trial

and enter an order instructing Grinnell and its counsel, and through counsel, Grinnell’s witnesses,

not to mention, refer to, or interrogate or attempt to convey in any manner, either directly or

indirectly, any of the above-mentioned matters, without first obtaining permission from the Court

outside the presence and hearing of the jury, and further instructing Grinnell and its counsel to

warn and instruct every one of its witnesses to strictly follow the same instructions.

Dated: July 26, 2019

                                                       Respectfully Submitted,

                                                       /s/ Andrew T. Miltenberg
                                                           Andrew T. Miltenberg, Esq.
                                                       Kara L. Gorycki
                                                       NESENOFF & MILTENBERG, LLP.
                                                       363 Seventh Avenue, Fifth Floor
                                                       New York, New York 10001
                                                       Telephone: (212) 736-4500
                                                       Email: AMiltenberg@nmllplaw.com
                                                       KGorycki@nmllplaw.com



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                                          -and-

                                    __/s / David H. Goldman___
                                    David H. Goldman, Esq.
                                    BABICH GOLDMAN, P.C.
                                    501 S.W. 7th Street, Suite J
                                    Des Moines, Iowa 50309
                                    Telephone: (515) 244-4300
                                    Email: dgoldman@babichgoldman.com
                                    Attorneys for Plaintiff




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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 26, 2019 I served the foregoing document on the following
counsel of record via the Court’s electronic filing (“ECF”) system:

       Frank B. Harty, Esq.
       Nyemaster Goode P.C.
       700 Walnut Street, Suite 1600
       Des Moines, IA 50309-3899
       (515)283-3100
       fharty@nyemaster.com

       Frances M. Haas, Esq.
       Nyemaster Goode P.C.
       625 First Street SE, Suite 400
       Cedar Rapids, IA 52401-2030
       (319)286-7000
       fmhaas@nyemaster.com


                                                  /s/ Andrew T. Miltenberg
